Case 2:05-cr-20213-.]PI\/| Document 7 Filed 07/11/05 Page 1 of 2 Page|D 14

UNITED STATES DISTRICT COURT F"'E° BY -~-- °~°-
wEsTERN DISTRICT oF TENNESSEE
Western Division 05 JUL l l PH 33 ll

UOMAS M GOLAD
Ct£RK, U.S. ttSH_CT OGBT
UNITED sTATES oF AMERICA WtD OF titth
-vs- ease No. 2;05cr20213-001M1

DESIRAY MURRY

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM AC'I`

Upon motion of the Govemment, it is ORDERED that a detention hearing is set for
TUESDAY, JULY 12, 2005 at 2:30 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing
Date: July 8, 2005 ,_--'

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

lIf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(D(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(@ are present. Subsection ( l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer‘s own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8.'85) Order of Tampclrary Detention

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-202]3 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

Scott F. Leary

U.S. ATTORNEY'S OFFICE
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Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

